                 Case 2:18-cr-00010-TLN Document 53 Filed 04/20/18 Page 1 of 4


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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NOS. 2:18-CR-010; 2:18-CR-034;
                                                         2:18-CR-035; 2:18-CR-037; 2:18-CR-054
12                                Plaintiff,
                                                         AMENDED STIPULATION REGARDING
13                          v.                           EXCLUDABLE TIME PERIODS UNDER SPEEDY
                                                         TRIAL ACT; FINDINGS AND ORDER
14   JUSTIN JOHNSON et al.,
                                                         DATE: April 26, 2018
15                                Defendants.            COURT: Hon. Troy L. Nunley
16

17                                              STIPULATION

18          1.      This stipulation concerns thirteen indicted cases, which all arise out of a common

19 investigation. The thirteen cases concern twenty-seven different defendants.

20          2.      By recent orders, eight of the thirteen matters were variously set for status conferences on

21 July 19, July 26, and August 2, 2018. In the five matters noted in the caption, the parties requested a

22 continuance to August 9; however, the Court is not available on August 9, and so the parties are instead

23 asking for the next available date, August 16, at 9:30 a.m.

24          3.      Consistent with the prior request, the parties to the five captioned matters seek to exclude

25 time between April 26, 2018, and August 16, 2018, under Local Codes T2 and T4.

26          4.      The parties agree and stipulate, and request that the Court find the following:

27                  a)     As of this stipulation, the Government has produced more than 400 pages of

28          written discovery to the defendants as a group, as well as 45 DVDs containing audio and visual


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:18-cr-00010-TLN Document 53 Filed 04/20/18 Page 2 of 4


 1        surveillance recordings. (Each defendant has also received a copy of his or her criminal history,

 2        if one exists, and a small amount of additional written discovery has been produced to a subset of

 3        defendants.) Going forward, the Government anticipates producing hundreds of additional pages

 4        of discovery, which will include wiretap-related documents pursuant to the Court’s April 12,

 5        2018 protective order, and additional DVDs containing wiretap data and additional surveillance

 6        evidence.

 7               b)      At this time, the Government understands that the previously appointed

 8        discovery-coordination attorney (the “DCA”) is processing the discovery that the Government

 9        has produced (as noted in the foregoing paragraph) and making it available to defense counsel.

10               c)      At this time, Counsel for the defendants desire additional time to review the

11        discovery now being distributed by the DCA. This review will enable counsel to begin

12        reviewing the charges against their respective clients, conduct ancillary research, and consult

13        with their respective clients on how to proceed in their cases.

14               d)      Counsel for the defendants believe that failure to grant the above-requested

15        continuances would deny them the reasonable time necessary for effective preparation, taking

16        into account the exercise of due diligence.

17               e)      The government does not object to the continuances.

18               f)      Based on the above-stated findings, the ends of justice served by continuing the

19        case as requested outweigh the interest of the public and the defendant in a trial within the

20        original date prescribed by the Speedy Trial Act.

21               g)      Further, given that the discovery in this case arises from a single investigation and

22        is being produced to the twenty-seven defendants in thirteen cases, the Court has previously

23        designated the matter as “complex” for the purpose of providing an exclusion of time under

24        Local Code T2. The parties submit that the foregoing stipulation provides a continued basis for

25        such an exclusion.

26               h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

27        et seq., within which trials must commence, the time period of April 26, 2018 to August 16,

28        2018, as noted in this stipulation, inclusive, are deemed excludable pursuant to

     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:18-cr-00010-TLN Document 53 Filed 04/20/18 Page 3 of 4


 1          18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because they result from continuances granted

 2          by the Court at the defendants’ requests on the basis of the Court’s finding that the ends of

 3          justice served by taking such action outweigh the best interest of the public and the defendants in

 4          speedy trials.

 5                  i)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trials must commence, the time periods of April 26, 2018 to August 16,

 7          2018, as noted in this stipulation, inclusive, are deemed excludable pursuant to

 8          18 U.S.C. § 3161(h)(7)(A), (ii) because they result from continuances granted by the Court at

 9          defendants’ requests on the basis of the Court’s finding that the matters are sufficiently complex

10          that it would be unreasonable to expect adequate preparation absent the exclusions of time.

11          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

13 must commence.

14          IT IS SO STIPULATED.
15
     Dated: April 18, 2018                                    MCGREGOR W. SCOTT
16                                                            United States Attorney
17                                                            /s/ OWEN ROTH
18                                                            OWEN ROTH
                                                              Assistant United States Attorney
19
     Dated: April 18, 2018
20                                                            /s/ TODD D. LERAS
                                                              TODD D. LERAS
21                                                            Counsel for Defendant Edgar Jimenez
                                                              Case No. 2:18-cr-010
22

23 Dated: April 18, 2018                                      /s/ CLYDE BLACKMON
                                                              CLYDE BLACKMON
24                                                            Counsel for Defendant James Masterson
                                                              Case No. 2:18-cr-010
25

26 Dated: April 18, 2018                                      /s/ CANDICE L. FIELDS
                                                              CANDICE L. FIELDS
27                                                            Counsel for Defendant Reggie Pajimola
                                                              Case No. 2:18-cr-010
28

      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:18-cr-00010-TLN Document 53 Filed 04/20/18 Page 4 of 4


 1
     Dated: April 18, 2018                           /s/ KYLE R. KNAPP
 2                                                   KYLE R. KNAPP
                                                     Counsel for Defendant Joshua Sims
 3                                                   Case No. 2:18-cr-010
 4
     Dated: April 18, 2018                           /s/ TIMOTHY E. WARRINER
 5                                                   TIMOTHY E. WARRINER
                                                     Counsel for Defendant John Lemus
 6                                                   Case No. 2:18-cr-034
 7

 8 Dated: April 18, 2018                             /s/ MICHAEL B. BIGELOW
                                                     MICHAEL B. BIGELOW
 9                                                   Counsel for Defendant Carlos Martinez
                                                     Case No. 2:18-cr-035
10
     Dated: April 18, 2018                           /s/ ERIN J. RADEKIN
11                                                   ERIN J. RADEKIN
                                                     Counsel for Def. Asencion Jimenez
12                                                   Case No. 2:18-cr-037
13
                                                     /s/ RONALD PETERS
14 Dated: April 18, 2018
                                                     RONALD PETERS
15                                                   Counsel for Def. Blas Gonzalez-Ramirez
                                                     Case No. 2:18-cr-054
16

17                                       FINDINGS AND ORDER
18         IT IS SO FOUND AND ORDERED this 19th day of April, 2018.

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22                                                      Troy L. Nunley
                                                        United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME      4
      PERIODS UNDER SPEEDY TRIAL ACT
